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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

   DWIGHT RUSSELL, et al.,                   §
       Plaintiffs,                           §
                                             §
   v.                                        §
                                             §
                                             §            Case No. 4:19-cv-00226
   HARRIS COUNTY, TEXAS, et
   al.,                                      §
        Defendants,                          §
                                             §
   STATE OF TEXAS, et al.,                   §
       Intervenor-Defendants.                §

   NON-PARTY HARRIS COUNTY DISTRICT ATTORNEY’S OFFICE’S
          REPLY ON MOTION FOR PROTECTIVE ORDER

TO THE HONORABLE JUDGE ROSENTHAL:

         Non-party Harris County District Attorney’s Office (the “HCDAO”) files this

reply to Plaintiffs’ response to the HCDAO’s motion to quash subpoena and motion

for protective order (Dkt. 592).

         In connection with their suit challenging the constitutionality of aspects of the

manner in which bail is set for felony arrestees in Harris County, Plaintiffs issued a

subpoena to non-party HCDAO on or about April 11, 2022 (the “Subpoena”). The

HCDAO filed its motion to quash the Subpoena, and alternatively seeking protection

from the Subpoena, on August 22, 2022 (Dkt. 589). Plaintiffs filed their response

on September 6, 2022 (Dkt. 592). A hearing on the motion is currently set for

October 4, 2022. (Dkt. 594).

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                                      ARGUMENT
    I.        The HCDAO is entitled to sovereign immunity.
         Relying on two inapposite United States Supreme Court opinions, Plaintiffs

argue that the HCDAO is not entitled to the protections of sovereign immunity

because the HCDAO is not a named defendant. See Plfs Resp., at 21 (citing

PennEast Pipeline Co. v. New Jersey, 141 S. Ct. 2244, 2260 (2021); Alden v. Maine,

527 U.S. 706, 735 (1999)). For the same reasons as the felony judges have raised in

their pending appeal, non-party HCDAO enjoys sovereign immunity from the

Subpoena. See Russell v. Jones, No. 21-20269 (5th Cir.). Neither PennEast or Alden

addressed the relevant issue currently before the Court: whether a subpoena is a

“suit” within the meaning of the Eleventh Amendment. The HCDAO’s motion set

forth the relevant authority on that relevant point, which controls the dispute here

and demonstrates the HCDAO is entitled to sovereign immunity.

         Plaintiffs’ waiver argument fares no better. Plaintiffs identify no authority for

the proposition that the HCDAO waived its entitlement to sovereign immunity by

abiding by the Court’s previous rulings and responding to earlier subpoenas in this

case. Nor can they, because waiver by a state of its immunity from suit in federal

court may not be implied. Sossamon v. Texas, 563 U.S. 277, 284 (2011). The facts

here are “readily distinguishable from the limited situations where [the Supreme]

Court has found a State consented to suit, such as when a State voluntarily invoked

federal court jurisdiction or otherwise ma[de] a ‘clear declaration’ that it intends to
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submit itself to [] jurisdiction,” such as removing a case from state court to federal

court. Raygor v. Regents of Univ. of Minn., 534 U.S. 533, 547 (2002) (internal

citations omitted); see also Butler v. Denka Performance Elastomer, L.L.C., 16 F.4th

426, 436 (5th Cir. 2021) (holding that state’s voluntary appearance in federal court,

including through removal, constituted waiver of Eleventh Amendment immunity).

    II.       The responsive documents are not “of consequence” to the Plaintiffs’
              claims, and thus do not meet the standard for relevant evidence.
          Even without the imposition of sovereign immunity, the Subpoena would be

required to be quashed on other grounds.

    A. Privilege

          First and foremost, the documents requested are subject to valid claims of

attorney-client communications and attorney work product privilege. As indicated

in the motion and as supported by the declaration of one of the participants in the

emails at issue, the requested documents concern internal discussions about a

pending criminal matter.

          The responsive documents are confidential internal HCDAO communications

protected by both the attorney-client privilege and the work-product doctrine. As an

initial matter, confidential communications made to an HCDAO employee,

including its Director of Communications, concerning a then-ongoing criminal

prosecution, are privileged.     E.g., Vicknair v. La. Dep’t of Public Safety and

Corrections, 555 Fed. Appx. 325, 333 (5th Cir. 2014) (holding that e-mail between

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an employee, a confidential assistant to employer’s deputy secretary, and general

counsel concerning a pending internal investigation was covered by attorney-client

privilege); U.S. v. Pipkin, 528 F.2d 559, 562 (5th Cir. 1976) (“In appropriate

circumstances the privilege may bar disclosures made by a client to non-lawyers

who, like Somerford, had been employed as agents of an attorney … [so long as] the

communication have been made and maintained in confidence.”).

        Contrary to Plaintiffs’ assertion, neither privilege has been waived in this case.

Inquiry into the general nature of legal services provided by counsel does not

necessitate an assertion of privilege because the general nature of services is not

protected by privilege. Nguyen v. Excel Corp., 197 F.3d 200, 206 (5th Cir. 1999).

Further, public disclosure of facts does not destroy the attorney-client privilege with

respect to confidential communications about those facts. U.S. v. Murra, 879 F.3d

669, 682 (5th Cir. 2018). The transcripts Plaintiffs attach to their response clearly

demonstrate that Ms. Keith revealed nothing other than facts in open court and

during both of her depositions. As such, there has been no waiver of the privileges

applicable to the confidential communications, and Plaintiffs’ speculation about

what the communications “likely” contain is irrelevant to the Court’s privilege

analysis.

    B. Relevance and Proportionality




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        In addition, nowhere in the twenty-five pages of Plaintiffs’ response do they

address how a claimed “policy” of a former state criminal district judge in setting

bail on cases involving allegations of aggravated violence have any bearing on any

of their claims for prospective injunctive relief. Plaintiffs’ contention that “[t]he

requested emails will likely help establish that Judge Roll maintained an

unconstitutional policy of revoking bond without procedural protections while

shedding light on exactly how this practice functioned,” Plfs Resp., at 13, is not the

standard for relevant evidence. Evidence is relevant if it has “any tendency to make

the existence of any fact that is of consequence to the determination of the action

more probable or less probable than it would be without the evidence.” Hicks-Fields

v. Harris Cty., 860 F.3d 803, 809 (5th Cir. 2017) (emphasis added).

        By insisting on production of the documents related to a state district judge

who is no longer on the bench, Plaintiffs wholly ignore the “of consequence”

requirement for relevance. Further, as emphasized in HCDAO’s motion, any

information allegedly included in the responsive documents would not be “of

consequence” even if the documents referenced a sitting state district judge. See

Daves v. Dall. Cnty., Tex., 22 F.4th 522, 540-41 (5th Cir. 2022). Daves forecloses

the notion that the Plaintiffs can bring claims over a district judge’s bail

determinations. Id. at 543. District judges “act[] for the State when addressing bail,”

and neither the State nor its officers can be sued under Section 1983. Id. at 533, 541.


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Accordingly, because there is no way that the responsive documents could ever be

“of consequence,” there are no grounds on upon which the documents can be

relevant.

      C. Undue Burden

        Because the responsive documents are irrelevant and unnecessary (not to

mention that they invade the internal discussions at the HCDAO about a pending

criminal matter), the Subpoena imposes an undue burden on the HCDAO. FED. R.

CIV. P. 45(d)(3)(A)(iv). As the Court is well aware, to determine whether a subpoena

presents an undue burden, the Fifth Circuit considers the following factors: (1)

relevance of the information requested; (2) the need of the party for the documents;

(3) the breadth of the document request; (4) the time period covered by the request;

(5) the particularity with which the party describes the requested documents; and (6)

the burden imposed. Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812, 818 (5th

Cir. 2004). Further, if the person to whom the document request is made is a non-

party, the court may also consider the expense and inconvenience to the non-party.

Id.

        In the second paragraph of their substantive argument, Plaintiffs attempt to

circumvent this analysis by stating that the Subpoena “is not unduly burdensome

under Fed. R. Civ. P. 45(d)(3)(iv) because it requests just two discrete email

exchanges that HCDAO has already identified, reviewed, and recorded in its


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privilege log. [] Producing these emails would entail no burden at all.” Plfs Resp.,

at 11-12.     The fact that the HCDAO has located the responsive documents

encompasses only a fraction of the Court’s analysis regarding whether the Subpoena

imposes an undue burden; the Court must also ascertain the relevance of and need

for the requested information. Even a trivial burden may be “undue” when the

requested information is meaningless to the litigation. As set out above, Plaintiffs

have failed to demonstrate the relevance of these emails or any valid need to obtain

them.

        Plaintiffs have not demonstrated a substantial need for the requested

documents. Again, the Subpoena requests irrelevant communications concerning a

former district judge’s alleged bail policy. Whatever information the Plaintiffs

believe the communications contain, the requested documents would not have any

tendency to make any fact “of consequence” more or less probable in light of the

Fifth Circuit’s opinion in Daves.        As such, the Plaintiffs are incapable of

demonstrating a substantial need for the requested documents.

                                  CONCLUSION
        For the foregoing reasons and those set out in the motion, the HCDAO

respectfully requests the Court grant its motion to quash, or in the alternative motion

for protection, and award the HCDAO all further relief to which it may show itself

to be entitled.


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                                     Respectfully submitted,

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                                     ATTORNEY FOR HARRIS COUNTY
                                     DISTRICT ATTORNEY’S OFFICE



                        CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing pleading was served on counsel of
record for the parties in compliance with the Federal Rules of Civil Procedure by
filing with the Court’s CM/ECF system on September 13, 2022.

                                           /s/ Eric J.R. Nichols
                                               Eric J.R. Nichols




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